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                                                                                  The Court acknowledges
                            UNITED STATES DISTRICT COURT                          the Stipulated
                        FOR THE SOUTHERN DISTRICT OF INDIANA                      Dismissal, dkt. 13.
                                INDIANAPOLIS DIVISION                             JPH, 7/16/2019
                                                                                  Distribution via ECF.
LHP Software, LLC                           )
      d/b/a LHP Engineering,                )
                                            )
                                 Plaintiff, )
                                            )
                        v.                  )           C/A No.: 1:19-cv-1547-JPH-DLP
                                            )
L. Francis Cissna, Director, United States  )
Citizenship and Immigration Services,       )
                                            )
                                 Defendant. )
_______________________________________)



                                    STIPULATED DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff hereby voluntarily

 dismisses this case. Likewise, the parties stipulate to dismissal. The parties further agree to bear

 their own costs and attorneys’ fees for this case.

 July 16, 2019                                  Respectfully submitted,

 s/ Rachana N. Fischer                                s/Bradley B. Banias
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